9 F.3d 978
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Willard VAN HOOSE, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7077.
    United States Court of Appeals, Federal Circuit.
    Aug. 10, 1993.
    
      Before LOURIE, Circuit Judge, BENNETT, Senior Circuit Judge, and RADER, Circuit Judge.
      ON MOTION
      LOURIE, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive Fed.Cir.R. 27(e) and to dismiss Willard Van Hoose's appeal.  Van Hoose has not filed a response.
    
    
      2
      Van Hoose seeks review of an order of the Court of Veterans Appeals affirming the Board of Veterans Appeals decision denying Van Hoose entitlement to a total disability rating based upon individual unemployability.  Van Hoose challenges only factual determinations or the application of a law or regulation to his claim, or raises a legal question that does not contest the validity of a statute or a regulation, or the interpretation of a constitutional or statutory provision or a regulation.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive Fed.Cir.R. 27(e) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    